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                  THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF TEXAS
                           HOUSTON DIVISION

ASHLEY FERNANDES and                  §
ADNEY RODRIGUES,                      §
                                      §
     Plaintiffs,                      §
                                      §
v.                                    § CIVIL ACTION NO. 4:20-cv-349
                                      §
SHREY BUSINESS INC. dba               §
MELBO #2 FOOD STORE,                  §
RAHIMALI MAKNOJIA,                    §
INDIVIDUALLY and dba                  §
LEISURE TIME TECH, and IRFAN          §
MAKNOJIA, INDIVIDUALLY                §
and dba LEISURE TIME TECH,            §
                                      §
     Defendants.                      §

                    PLAINTIFFS’ ORIGINAL COMPLAINT

                               SUMMARY OF SUIT

     1.    Defendant Shrey Business Inc. dba Melbo #2 Food Store

(“Melbo #2”) is a gas station and food store owned and operated by

Defendants Rahimali Maknojia (“R. Maknojia”) and Irfan Maknojia

(“I. Maknojia”) (collectively, the “Maknojias”) who also operate

Leisure   Time   Tech     at   the   same    location.        Reference    to   the

“Defendants” is to Melbo #2 and the Maknojias, collectively.

Unfortunately,     the    Defendants        did   not   pay    their    non-exempt

employees,   Ashley      Fernandes    (“Fernandes”)      and    Adney    Rodrigues

(“Rodrigues”) (collectively, the “Plaintiffs”), time and one-half

overtime wages for all hours worked over forty (40) per workweek.

                           JURISDICTION AND VENUE

     2.    This Court has subject matter jurisdiction under 29

U.S.C. § 216(b)(2020) and 28 U.S.C. § 1331 (2020).
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     3.   The Plaintiffs bring this Complaint in a district in

which Melbo #2 does business.       As such, venue is proper in this

district pursuant to 28 U.S.C. § 1391(b)(2020).

                              THE PARTIES

     4.   Fernandes was employed by the Defendants within the

meaning of the FLSA during the three (3) year period preceding the

filing of this Complaint.         In performing his duties for the

Defendants, Fernandes engaged in commerce or in the production of

goods for commerce.

     5.   Rodrigues was employed by the Defendants within the

meaning of the FLSA during the three (3) year period preceding the

filing of this Complaint.         In performing his duties for the

Defendants, Rodrigues engaged in commerce or in the production of

goods for commerce.

     6.   Melbo   #2,   an   enterprise   engaged    in   commerce,   is   a

domestic corporation who has acted, directly or indirectly, in the

interest of an employer with respect to the Plaintiffs. Melbo’s #2

may be served with process by serving its registered agent, R.

Maknojia, at 20110 Windbury Court, Spring, Texas 77379.

     7.   R. Maknojia has acted, directly or indirectly, in the

interest of an employer with respect to the Plaintiffs.                    R.

Maknojia may be served with process at 20110 Windbury Court,

Spring, Texas 77379.

     8.   I. Maknojia has acted, directly or indirectly, in the

interest of an employer with respect to the Plaintiffs.                    R.
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Maknojia may be served with process at 20110 Windbury Court,

Spring, Texas 77379.

                                 BACKGROUND

      9.    Melbo #2 is one of two (2) gas stations and grocery stores

owned by the Maknojias in the Houston area.                Melbo #2 is open

twenty-four (24) hours a day seven (7) days a week.

      10.    Fernandes was employed by the Defendants at Melbo #2 as

a   cashier,    clerk   and   general    laborer   from   August   2019   until

November 21, 2019. Fernandes routinely worked more than forty (40)

hours per week. Fernandes was paid in cash at his regular hourly

rate for all hours worked, including overtime hours.

      11.    Rodrigues was employed by Melbo #2 as a cashier, clerk

and general laborer from its opening in 2016 until November 21,

2019.      Rodrigues routinely worked more than forty (40) hours per

week.      Rodrigues was paid in cash at his regular hourly rate for

all hours worked, including overtime hours.

      12.    The Maknojias have a substantial financial interest in

Melbo #2 and are directly involved in:

      a.     the hiring and firing of         Melbo #2 employees;

      b.     the day-to-day operations of     Melbo #2 as they
             relate to defining the terms of employment,
             workplace conditions, and the level of compensation
             to be received by Melbo #2 employees;

      c.     the   Melbo #2’s finances; and

      d.     corporate decisions.

      13.    As a non-exempt employees, the Plaintiffs were entitled


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to be paid one and one-half (1½) times their regular rate for all

hours worked in excess of forty (40) hours in a workweek. 29 U.S.C.

§ 207 (2020).

     14.    No exemption excuses the Defendants from paying the

Plaintiffs    overtime compensation for all hours worked over forty

(40) hours each work week.       Nor have the Defendants made a good

faith effort to comply with the FLSA. Instead, the Defendants

knowingly, willfully, or with reckless disregard carried out an

illegal pattern or practice regarding unpaid overtime compensation

with respect to the Plaintiffs.

                            CAUSE OF ACTION

                    A. Unpaid Overtime Compensation

     15.    The Plaintiffs regularly worked far in excess of forty

(40) hours per week for which they were not compensated at one and

one-half times their regular rate of pay.

     16.    As non-exempt employees, the Plaintiffs were entitled to

be paid time and one-half for all hours worked in excess of forty

(40) hours in a workweek. 29 U.S.C. § 207(a) (2020).         Accordingly,

the Defendants’ practice of failing to pay the Plaintiffs overtime

compensation was and is a clear violation of the FLSA.

     17.     No exemption excused the Defendants from paying the

Plaintiffs time and one-half for hours worked over forty (40)

hours.     Nor did the Defendants make a good faith effort to comply

with the FLSA. Instead, the Defendants knowingly, willfully, or

with reckless disregard carried out its illegal pattern or practice
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regarding overtime compensation with respect to the Plaintiffs.

       18.   Accordingly, the Plaintiffs are entitled to overtime pay

in an amount which is one and one-half times their regular rate of

pay.

       19.   Additionally, the Plaintiffs are entitled to an amount

equal to all of their unpaid overtime wages as liquidated damages.

       20. Finally, the Plaintiffs entitled to reasonable attorneys'

fees and costs of this action. 29 U.S.C. § 216(b)(2020).

                                    PRAYER

       WHEREFORE, Plaintiffs Ashley Hernandes and Adney Rodrigues

request that this Court award them judgment, jointly and severally,

against Defendants Shrey Business Inc. dba Melbo #2 Food Store,

Rahimali Maknojia, Individually and dba Leisure Time Tech, and

Irgan Maknojia, Individually and dba Leisure Time Tech, for:

       a.    damages for the full amount of their unpaid
             overtime compensation;

       b.    an amount equal to their unpaid               overtime
             compensation as liquidated damages;

       c.    reasonable attorneys’ fees, costs and expenses
             of this action;

       d.    pre-judgment  interest  and   post-judgment
             interest at the highest rates allowable by
             law; and

       e.    such other and       further    relief   as    may   be
             allowed by law.




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                              Respectfully submitted,


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